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% A 0 2458     (Rev. 06/05) Judgment in a Criminal Case             #498
               Sheet I




                        SOUTHERN                                  District of                                   ILLINOIS

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAI, CASE
                               v.
                     DEBRA A. MlFFLlN                                     Case Number:        4:06CR40004-005-JPG

                                                                          USM Number: 07281 -025



THE DEFENDANT:
@fpleaded gullty to count(s)          1 of the 3rd Superseding lnd~ctment
   pleaded nolo contendere to count(s)
   whrch was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

T ~ t l eK Sectron                  Ydture of Offense                                                      Offenw Ended                ('uunt
 21 U.S.C. 846                       Conspiracy t~ Mawfecture & Distribute 500 Gmrns or More                 9/19/2006                   1sss
                                     of a Mixture & Substance Containing Methamphetamine


       The defendant is sentenced as provided in pages 2 through              10        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is       are dismissed on the motion of the United States.

         I t 1s ordered th3t the defendant niust notify the Llnr~edStates attorney for thrj drstr~ctwithin 30 Ja otany change ofname. residenic.
or n~a~llngaddrcsr   until all fines, restltutlon,,cost>.and spcc~alassessmcn,s iniposcd by this judgment arc iui;; palJ Ifordered to pay restltutron.
the defendant niust not~fythe coun and Unltcd States attorney ofmatcrral changes in cwnunuc clrcunatanic,.




                                                                           J . Phil Gilbert                             D~strictJudge
                                                                                                                      Title ofludge
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                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  65 days on Count 1 of the 3rd Superseding Indictment. (The Court sentences the defendant to 90 days, but gives her credit
  for 25 days previously sewed in this case).


           The court makes the following recommendations to the Bureau of Prisons:




           The defendant is remanded to the custody of the United States Marshal.

           The defendant shall surrender to the United States Marshal for this district:
                at                                     a.m.          p.m.     on
                as notified by the United States Marshal.

           The defendant shall sumender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
       $i       as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                   , with a certified copy of this judgment.


                                                                                                     LJNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 3 years on Count 1 of the 3rd Superseding Indictment



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two penodc drug tests
 thereafter, as detemned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 8( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a feeor restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of t h ~judgment.
                                        s
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or adfninister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescnbed by a phys~cian;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pernnsslon to do so by the profation officer;
  10)      the defendant shall permit aprobation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probaaon officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as d~rectcdby the y b a t l o n oificer. the dcicndani shall not~iythird panlcs ofrisks that nu). he osca,~oncdbythe defcndanl's c~1ni1n31
           record or peron2 history or iharactcr~sucsand shall pennli thc prohauon otttccr lo makc such notltlcattons and to contlrm the
           dsienhnt s cornpl~anccalth such not~ficntionrrqulrenicnt.
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           Sheet 3C - Supervised Release                        #501
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supe~isedrelease. The defendant shall pay the fine in installments of $15.00 per month or
 ten percent of her net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling. The number of drug tests shall not exceed 52 tests in a one year period.

 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
 deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no payment shall
 be required.

 X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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           Sheet 5 -Criminal Monetary Penalties                  #502
                                                                                                        Judgment - Page   5
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                                              CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                       -
                                                                       Fine                                     Restitution
 TOTALS            $ 100.00                                          $ 500.00                                 $ 0.00



 17 The determination of restitution is deferred until -. An Amended Judgment in a Criminal Case(A0 245C) will he entered
      after such determination.

 17 The defendant must make restitution (including community restitution) to the following payees in the amount listed below
      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortinned ayment, unless specified otherwise ~n
      the priority order or percentage payment columnxelow. However, pursuant to 18 Qs.8. 366481, all nonfederal victims must be p a ~ d
      before the Un~tedStates 1s pa~d.

 Nanie of Pasee                                                           Total*                  Restitution Ordered     Priority or Percenrage
                                                                          , < , ..            ,                                    ,
                                                                                         ,,        ~

                                                                      .      ..      .




 TOTALS                              $                        0.00           $                         0.00


 17    Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may he subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 &d The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    &d the interest requirement is waived for the @ fine              restitution.
       17 the interest requirement for the             fine   17 restitution is modified as follows:

 * Findings for the total amount of losses are re uired under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
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           Sheet 6 -Schedule of Payments                        #503
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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    Qf Lump sum payment of $                               due immediately, balance due

                 not later than                                 0 1
                 in accordance                C,       D,         E, or         F below; or

B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

 C         Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @f   Special instructions regarding the payment of criminal monetaly penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $15.00 or ten percent
           of h is net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment a ent of criminal monetay penalties is due d e n
imprisonment. All criminarmoneta penalties, except ?hose payments made throu$ g ~ e d e r a Bureau l      of Prisons' Inmate ~ t n a n c i i
                                          X
Responsibility Program are made to t e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                       1.
Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) pena hes, and (8) costs, including cost of prosecnhon and court costs.
